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                     Exhibit
                     Exhibit D
                             D
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                                                                                                     Page       1

             IN      THE     CIRCUIT         COURT       OF     JACKSON          COUNTY,        MISSOURI
                                             KANSAS       CITY        DIVISION


     Case      No.         1916-CV07011,               Division:             7



    VIDEO-RECORDED                   DEPOSITION           OF:         ANDREA       STEINBERG              -

    May 7,           2019

    MOUNTAIN           WEST       SERIES          OF    LOCKTON           COMPANIES,          LLC
     (formerly              known      as    DENVER        SERIES          OF    LOCKTON        COMPANIES

     LLC) ; LOCKTON               PARTNERS,             LLC,
     Plaintiffs,

    v.
     CHARLES          M.     MCDANIEL;            ROBERT        KINDER;          DEREK       CADY;
    NICHOLAS               HANSEN;      GREGORY          WINTER;           RAYMOND       PAOLINI;
    RICHARD           SCHWARTZENBERGER,
    Defendants.




                           PURSUANT         TO    NOTICE        AND       AGREEMENT,          the

    video-recorded                   deposition           of     ANDREA          STEINBERG           was       taken

     on   behalf            of   the    Defendants              at    1900       16th    Street,              Suite

     1700,        Denver,         Colorado             80202,        on    May    7,    2019,        at       1:34

    p.m.,         before         Haley       L.    Bortz,        Registered             Professional
    Reporter,               Certified            Realtime        Reporter,             and    Notary
     Public          within       Colorado.




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                                                                                                                                                      Page 4
                APPEARANCES                                                                       WHEREUPON, the following proceedings were
    For the Plaintiffs:     ISAAC NESSER, ESQ.                                           taken pursuant to the Missouri Rules of Civil
                       Quinn Emanuel Urquhart & Sullivan, LLP                            Procedure.
                       51 Madison Avenue
                       22nd Floor
                                                                                                  THE VIDEOGRAPHER:             This is Media Unit 1 in
                       New York, NY          10010                                       today's deposition by Andrea Steinberg in the matter of
                       212-849-7253                                                      Mountain West Series of Lockton Companies, LLC, versus
                       isaacnesser@quinnemanuel.com
    For the Plaintiffs:      RANDI TANGNEY, ESQ.                                         Charles M. McDaniel et al. in the Circuit Court of
                       Lockton Companies                                                 Jackson County, Missouri, Kansas City Division, Case
                       444 West 47th Street
                     Suite 900
                                                                                         Number 1916-CV07011.
                     Kansas City, MO 64112                                                    Today's date is May 7th, 2019.          The time on
                     816-960-9323                                                        the camera is 1:34. This video deposition is being
                     rtangney(@lockton.com
    For the Defendants:      SETH GERBER, ESQ.                                           held at Akerman, LLP, located at 1900 16th Street,
                     AINSLEY G. CARRENO, ESQ.                                            Denver, Colorado.
                       Morgan, Lewis, Bockius, LLP
                       2049 Century Park East
                                                                                                  Would counsel please state their appearances
                       Suite 700                                                         beginning with plaintiff's counsel.
                       Los Angeles, CA         90067                                              MR. NESSER:        Isaac Nesser at Quinn Emanuel
                       310-255-9111
                       seth.gerber@morganlewis.com                                       for the plaintiff -- plaintiffs.
                       ainsley.carreno@morganlewis.com                                            MR. GERBER:        Good afternoon.      My name is Seth
    Also Present:           John Arnold, CLVS, Videographer
                                                                                         Gerber, and together with me is my colleague Ainsley
                                                                                         Carreno.     I'm a partner with Morgan Lewis.       And we
                                                                                         represent the defendants.
                                                                                                  THE VIDEOGRAPHER:             The court reporter today
                                                                                         is Haley Bortz of Epic Court reporter -- Court
                                                                                         Reporting.     Excuse me.     Will the court reporter please
                                                                                         swear in the witness.

                                                                                                                                                      Page 5
                    INDEX                                                                                   ANDREA     STEINBERG,
                                                                                —




                                       PAGE
                                                                                         having been first duly sworn to state the whole truth,
                                                                                AWN




   EXAMINATION        OF ANDREA      STEINBERG:
   May 7, 2019
                                                                                         testified as follows:
   By Mr. Gerber:                             5,224
   By Mr. Nesser:                               223                                                 EXAMINATION
                                                                                         BY MR. GERBER:
                                                                                Ln




                                     INITIAL
                                                                                            Q. Would you please state and spell your full
                                                                                ON




   DEPOSITION EXHIBITS                               REFERENCE
                                                                                         name for the record.
                                                                                J




   Exhibit 33   CONFIDENTIAL,       E-mail to Pete           102
                                                                                                    Did you say stand?
                                                                                00




           Romano from Andrea Steinberg,
           March    15,2019                                                                         No. No. Not yet. Would you please state --
                                                                                OO




   Exhibit 34 Declaration of Andrea Steinberg                                                       Oh, state.
                                                                                    =O




           in Support of Plaintiff's Motion                                                         -- and spell your full name for the record.
           for Preliminary Injunction
                                                                                                    Andrea, A-n-d-r-e-a; Steinberg,
                                                                               a
                                                                            WN




   Exhibit 35   Photocopy of business card                                               S-t-e-i-n-b-e-r-g.
                                                                            a




                                                                                             Q.     Where do you reside?
                                                                               ee




   (Attached to original and copy transcripts.)
                                                                            LKR




                                                                                             A.     Denver.
                                                                            a




   PREVIOUSLY MARKED DEPOSITION                               INITIAL
   EXHIBITS:                 REFERENCE                                                       Q.     And how long have you been a Denver resident?
                                                                            JN
                                                                             a




  (None)                                                                                     A.     Twenty-eight years.
                                                                                             Q.     Okay.     And who is your current employer?
                                                                                 0




  INFORMATION        REQUESTED:
                                                                                             A.
                                                                            Re




  (None)                                                                                            Lockton Companies, Mountain West Series.
                                                                                 0




  QUESTIONS INSTRUCTED NOT TO ANSWER:
                                                                                             Q.     How long have you been employed there?
                                                                            OO
                                                                            NS




  (None)
                                                                                             A.
                                                                            NS I




                                                                                                    Twenty-three years.
                                                                            =




                                                                                             Q.     What is your current position?
                                                                            [NS J
                                                                                 DP




                                                                             23              A.     I am the strategic lead of the risk
                                                                             24          management practice.
                                                                             25              Q.     What are your job responsibilities in that

                                                                                                                                          2 (Pages 2-5)
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                                                                               Page 142                                                                         Page 144
                      A.       Itis, but it could have been an e-mail
                  saying, are you available tomorrow afternoon, and I
                  could have said yes, and then she could have called me                                    MR. NESSER:         Objection to form.
                  then, or she could have sent me a calendar invite.           1                       A.      It -- it was about my first discussion, what
                  don't remember how that took place.                                               talks about I think my role at Lockton, how long I've
                      Q.       Uh-huh.     So it's May 7th, 2019, and you can't                     been there, my discussion with Chuck on December 1st.
                  remember when you had a conversation with Lockton's                               My first contact with Peter December 3rd. When I first
                  counsel after May 12th, 2019?                                                     met with Peter and briefly what we discussed.
                               MR. NESSER:       Counsel, the question's asked                              And then again meeting on March 12th, I had
                  and answered, and at this point, this has turned into a                           lunch with him and -- well, actually, it was before
                  badgering of the witness.                                                         that. It was -- I'm trying to remember the weekend
                               MR. GERBER:       It isn't badgering of the                          because I have it written down.          It was March 9th, I
                  witness.                                                                          believe.    Around there.
                               MR. NESSER:       You've asked the question.                                 He contacted me on a weekend, on a Saturday,
                               MR. GERBER:       It's called cross-examination.                     and we spoke, and he explained the terms -- what the
                               MR. NESSER:       It's called you asked the                          terms of the offer would look like. And so I
                  question and you got an answer.            And it's not                           described -- that he gave me the terms of the offer.
                  appropriate.                                                                      And then he said I would be getting a written term
                      Q.       (BY MR. GERBER)           You can't -- you can't pin                 sheet by their CFO, and he asked for my home e-mail
                  that date down, can you?                                                          address.    And that day, I was given a term letter, and
                      A.       No.                                                                  then -- I think that was March 9th.
                      Q.       Allright. Now    --                                                          And then I heard from him again on
                      A.       But in preparation for this, I didn't look at                        March 12th, and we had lunch, and he sat down and we
                  my cal- -- no one asked me to look at my calendar to                              reviewed the term letter. I asked him additional
                  see what date I would have spoken with in-house                                   questions about the company just in terms of
                                                                               Page 143                                                                         Page 145
                  counsel, so I did not prepare, nor did I look back for                            mechanically how the company works and told him that it
      =




                                                                                             =




                  that.                                                                             was an incredible offer and that I would have to
                                                                                             WN
      WN




                      Q.       Have you told me everything you can recall                           consider it. I wanted to talk to my husband about it.
                  reading yesterday in the document about the December 1,                                  He explained that -- that there would be
      nh




                                                                                             nh




                  2018, meeting?                                                                    litigation involved, but they would -- they were going
                           . Uh-huh.                                                                to try to isolate the associates from the litigation
                                                                                             AN
      ON




                           .   Yes?                                                                 and keep it focused on producers. And then he said
                                                                                             9
      J




                           .   Yes.                                                                 that they had -- that they would hope to fight the
      0




                                                                                             0




                      Q.       How many paragraphs -- are the paragraphs                            non-solicitations in Colorado because it was more
      OO




                                                                                             Oo




                  numbered in the document?                                                         favorable than Missouri.       And that they would hope to
                                                                                           N= Oo
a
O




                                                                                                =




                           . I don't think so.                                                      try to outspend Lockton and hopefully force a
                                                                                              =
       —
a




                           . How many pages is it?                                                  settlement.
                                                                                          —_—
ea
       WN




                           . I'think it's about two and a quarter.                                     Q. (BY MR. GERBER) [III
ee




                           . Okay.       What other --
       bh




                           . Two and a third.
       LN




                           . What other meetings or conversations are                                       MR. NESSER:         Objection to form.
                  described in the document?                                                           A.      Yes. That was generally what the document
       J




                      A.       Tt was the -- it was when Peter first                                was about.
       0
J




                  contacted me, and then the meetings with Peter, the                                  Q.      (BY MR. GERBER)         What does the document state
       0




                  dates of the meetings with Peter.                                                 specifically about the December 1, 2018, meeting?
NS J NO
=O




                      Q.       Uh-huh.     And what dates were those?                                       MR. NESSER:         Objection.    Counsel, you've
                      A.       T'met on -- he first reached out to me                               asked that question three times already, and you've got
NS TE NG J NS J
      WN




                  December 3rd, and we had travel conflicts, so I think I                           an answer. That's enough. Let's move on, please.
                  met with him on December -- gosh, when was it -- 12th.                               Q.      (BY MR. GERBER)         What does it say?
hh




                      o. INI                                                                                MR. NESSER:         If you have anything to add to
[NST
       DN




                                                                                                                                             37 (Pages 142 - 145)
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